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 8                              IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                 Plaintiff,                              No. CR. S-09-0066 GEB

12          vs.

13   DENNIS AARON MOORE,

14                 Defendant.                              ORDER
                                             /
15

16          IT IS HEREBY ORDERED that the surety, Kendra Dennaoui, be allowed access to

17   IRA accounts 01426988745 and 01426988828, held by Foothill Securities, in order to withdraw

18   up to $125,000.00.

19          IT IS FURTHER ORDERED that Kendra Dennaoui must not withdraw any amount

20   that results in the combined balance of both accounts to fall below $180,000.00.

21          All other Orders of pretrial release remain in effect.

22          So Ordered.

23   DATED: November 2, 2011

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